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EXHIBIT AA
Case 1:01-cv-12257-PBS Document 6639-28 Filed 11/03/09 Page 2 of 4

OCT 26 '@@ @9:56 FR WAMPLER BUCHANAN & BR3@5 577 8545 TO 13852921739 P.@2/04

Wampler Buchanan te Breen
A Professional Maseialion
Sltronays and Counselors at tee
GOO Sear Sruat Building,
979 Brickell Bverue
(305) 577-0044 Mises, Wowie PITI7 Fax (308) 577-6848

SENSITIVE MATERIAL - DO NOT DISCLOSE
SUBJECT TO COURT SEALING ORDER

October 23, 2000

Via Facsimile 617-748-3969 and U.S, Mail Via Facsimile 202-305-7797 and U.S, Malt
Suzanne E. Durrell, Esquire T. Reed Stephens, Esquire

Chief, Civil Division Trial Attomey, Commercial Litigation Branch
Peter Levitt, Esquire Civil Division

Assistant United States Attorney United States Department of Justice

United States Attorney's Office P. O. Box 261

District of Massachusetts Ben Franklin Station

Suite $200 Washington, DC 20044

One Courthouse Way

Boston, MA 02110

RE: Additional Charges and Additional Defendants

Dear Suzanne, Peter and Reed:

ee the
attached Exhibit “A” for the matrix involving Abbott's specified pharmaceuticals, the spreads
on Abbott's Erythromycin oral drugs and the adverse affect of Abbott's fraud on the FUL.

Sincerely

wa

Atlee W. Wampler, fil
James J. Breen
For the Firm
‘dim
Attachment

cc: _Ven-A-Care of the Florida Keys, inc. (via facsimile)(w/o attachment)
FACLIGNT SHSQO\C orrespondencell2A-DurrellL evil AWW.wpd

2202962

VAC MDL 90973

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OCT 26 '@9 @9:56 FR WAMPLER BUCHANAN & BR3@5 577 8545 TO 13052921739 P.03/84

MATRIX OF ABBOTT SPECIFIED PHARMACEUTICALS
IN RELATION TO ABBOTT ERYTHROMYCIN

Erythromycin | 00074 | $14.79 | $11.16 $7.40 $11.10 $17.93 $6.83
Base Tab -6326
250mg, 100s -13

Erythromycin | 00074 | $70 24 | $56.19 $35.89 $53.835 $17.93 | $35.815

Base Tab -6326 X5=
250mg,500s -§3 $89.65
ERY-TAB | 00074 } $7.95 | $6.36 $2.76 $4.14 $17.93 $1.23
E/C -6304 /3.333
250mg,30 =30 =
$5.37
ERY-TAB | 00074 | $25 18 | $21.31 $7.72 $11.58 $17.93 $6.35
E/C -6304
250m_,100 -13
ERY-TAB_ | 00074 | $27.84 | $23.20 $9.90 $14.85 $17.93 $3.08
E/C, UD, -6304
250mg,100 -It
E.E.S. 200 00074 | $4.78 | $3.82 $3.45 $5.175 $6.97/ |. $1.795
Susp. 100m! | -6306 100m!
+13
ERY E-Suce/ | 00074 | $12.76 | $10.21 $4.21 $6.315 $7.46 $1.145

Sulfisoxazole | -7156
200mg,100ml {| -13

ERY E-Suce/ | 00074 | $18.89 | $15.31 $6.32 $9.48 $10.73 $1.25
Sulfisoxazole | -7156
200mg, 150m] -43

ERY E-Succ/ | 00074 | $24.83 | 19.86 $8.42 $12.63 $13.66 $1.03
Sulfisoxazole | -7156
200mg,200ml | -53

EXHIBIT “A”

mea Qe lg

VAC MDL 90974

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QCT 26 '@@ 9:57 FR WAMPLER BUCHANAN & BR325 577 8545 TO 13052921739 P.@4/Ba
aes Sania .
Erythromycin | 00074 | $14.59 | $11.00 $7.86 $11.79 $17.88 $6.09

Stearate Tab | -6346
250meg,100 -20

Erythromycin | 00074 | $17.14 | $14.28 $10.03 $15.045 $17.88 $2.835
Stearate Tab | -6346
250mg,UD, -38

100

Erythromycin | 00074 | $69.29 | $52.25 $38.18 $57.27 $89.40 $32.13
Stearate Tab [| -6346
250m¢,500 -53

Erythromycin | 00074 | $26.35 | $19.88 $15.30 $22.95 $24.18 $1.23
Stearate Tab | -6316
500mg,100 -13

EXHIBIT “A”

ma QcIhd
we TETOQ DOSE ‘

VAC MDL 90975

